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 8     HEALTHCARE INFORMATION SYSTEMS, LLC
 9                       UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
10
11     TRACI WOLBERT,                  )          CASE NO.: SACV16-00009 JLS (DFMx)
                                       )
12              Plaintiff,             )          [Assigned to the Hon. Josephine L. Staton,
                                       )          Courtrm. 10A]
13         vs.                         )
                                       )
14     QUALITY SYSTEMS, INC. NEXTGEN )            MEMORANDUM OF POINTS AND
       HEALTHCARE INFORMATION          )          AUTHORITIES IN SUPPORT OF
15     SYSTEMS, and DOES 1 through 10, )          DEFENDANTS’ MOTION TO
       INCLUSIVE,                      )          TRANSFER VENUE
16                                     )
                Defendants.            )          [Filed concurrently with Notice of Motion
17                                     )          and Motion, Declarations in Support, and
                                       )          [Proposed] Order]
18                                     )
                                       )
19                                     )
                                       )
20                                                Hearing Date:     April 1, 2016
                                                  Time:             2:30 p.m
21                                                Courtroom:        10a
22
                                                  Complaint Filed: December 3, 2015
23                                                Trial Date: None Set
       ///
24
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25
       ///
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                                                    IN SUPPORT OF DEFENDANTS’ MOTION TO
                                                    TRANSFER VENUE
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2              Defendants Quality Systems, Inc. (“QSI”) and NextGen Healthcare Information
 3     Systems, LLC, improperly pled in the First Amended Complaint as “NextGen Healthcare
 4     Information Systems” (“NextGen”), submit the following Memorandum of Points and
 5     Authorities in support of their motion to transfer venue of this matter from the Central
 6     District of California to the Eastern District of Pennsylvania.
 7     I.       INTRODUCTION
 8              This is an employment discrimination matter arising out of Traci Wolbert’s
 9     (“Plaintiff”) termination as a Director of Program Management for Defendant NextGen,
10     which is a wholly owned subsidiary of Defendant QSI.             Plaintiff alleges that she was
11     sexually harassed by her supervisor, Steve Puckett, and then terminated in January 2015
12     in retaliation for complaining about it to human resources in August 2014.
13              In a clear example of forum shopping, Plaintiff has now (for the second time) filed
14     this lawsuit in California despite the fact that she resides in Pennsylvania, she worked in
15     Pennsylvania, the alleged harm occurred in Pennsylvania, the majority of the witnesses
16     reside in Pennsylvania and her attorneys are located in Pennsylvania. This matter should
17     therefore be transferred to the Eastern District of Pennsylvania pursuant to 28 U.S.C. §
18     1404(a).
19     I.       STATEMENT OF RELEVANT FACTS1
20              A.    Background
21              Among other things, Defendants develop and market computer-based medical
22     practice management and electronic health records solutions.             Defendants are both
23     incorporated and have their principal places of business in California. First Amended
24     Complaint (“Cmpl.”) at ¶¶4-5.
25              Plaintiff was hired as a sales executive by Defendant NextGen in 2002. Id. at ¶17.
26     Plaintiff resided in California at the time of her hire in 2002 and worked out of her home.
27

28     1
           Defendants’ factual recitation is limited to those facts relevant to the venue issue.
       Case No.: 8:16-CV-00009 JLS (DFMx)               4   MEMORANDUM OF POINTS & AUTHORITIES
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 1     See Declaration of Traci Wolbert (“Wolbert Dec.”), attached as Exhibit 1 to the
 2     Declaration of Andrew D. La Fiura (“La Fiura Dec.”) at ¶¶ 2 & 6.2 At the time of her
 3     hire, Plaintiff signed an Offer Letter, Commission Plan and Confidentiality Agreement.
 4     Id. at ¶¶3-43. In 2007, she moved to Pennsylvania, which is where she currently resides
 5     and where she resided and worked at all times relevant to this lawsuit. See Wolbert Dec.
 6     at ¶7; Cmpl. at ¶2.
 7             In the spring of 2013, Plaintiff began reporting to Mr. Puckett, Defendant QSI’s
 8     Chief Technology Officer (“CTO”). Id. at ¶17. At the time, Plaintiff continued to work
 9     primarily out of her home in Philadelphia, PA. Wolbert Dec. at ¶7; Declaration of Steven
10     Puckett (“Puckett Dec.”), attached as Exhibit 3 to the La Fiura Dec., at ¶7.4 When she
11     was not working at home, Plaintiff worked out of her office in Defendant Nextgen’s
12     Horsham, PA location. Id. Puckett Dec. at ¶7.
13             At all relevant times, Mr. Puckett was a resident and citizen of the state of Florida.
14     Id. ¶2.      Although Plaintiff reported to Mr. Puckett, their interactions were almost
15     exclusively over the telephone, email and/or text messages. Id. at ¶8. In fact, Plaintiff
16     and Mr. Puckett were only in each other’s physical presence approximately 20 times, and
17     the vast majority of these personal encounters took place in Philadelphia or Horsham,
18     PA. Id. at ¶¶9-10. Mr. Puckett and Plaintiff were never in each other’s physical presence
19     in the state of California. Id. at ¶10.
20             B.     Harassment & Retaliation Allegations
21
               Plaintiff alleges that Mr. Puckett began sexually harassing Plaintiff shortly after
22
       her transfer to his Department in the spring of 2013. Cmpl. at ¶22. In particular, Plaintiff
23

24
       2
         The Wolbert Declaration was submitted in Opposition to a motion to change venue
25     Defendants filed in connection with a previous complaint filed by Plaintiff in this Court
       in April 2015. As discussed in Section II(C), infra, the Court dismissed that complaint
26     without prejudice on jurisdictional grounds.
27     3
          A more legible copy of Plaintiff’s Confidentiality Agreement is attached to the La
       Fiura Dec. as Exhibit 2.
28
       4
           Mr. Puckett’s declaration was also submitted in connection with the prior action.
       Case No.: 8:16-CV-00009 JLS (DFMx)             5   MEMORANDUM OF POINTS & AUTHORITIES
                                                          IN SUPPORT OF DEFENDANTS’ MOTION TO
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 1     alleges that Mr. Puckett made various requests over email and text messages that Plaintiff
 2     travel with him to Paris, India and a condominium he owns in New Orleans for non-work
 3     related purposes. Plaintiff also claims that from January 2013 until March 2014, Mr.
 4     Puckett repeatedly pressured her to relocate with him to Irvine, California. Id. at ¶27.
 5     Finally, Mr. Puckett also allegedly sent Plaintiff additional inappropriate text messages
 6     that were “sexual and harassing in nature” and behaved in an inappropriate manner at
 7     unspecified company functions they “routinely attended” in various cities. Id. at ¶22-25.
 8           On or about August 25, 2014, Plaintiff complained via telephone about Mr. Puckett
 9     to Donna Greene in Defendant QSI’s human resources department located in Irvine,
10     California. Plaintiff had subsequent telephone calls with Ms. Greene in September 2014
11     further detailing Mr. Puckett’s alleged conduct. Id. at ¶37-38.
12           On October 1, 2014, Mr. Puckett learned from two of Plaintiff’s co-workers, Dr.
13     Robert Murry and Lisa Carden, that Plaintiff was exhibiting serious performance issues.
14     Puckett Declaration at ¶11. This conversation occurred during a conference in Chicago,
15     Illinois. Id. Then, on October 9, 2014, Plaintiff was informed via a telephone call from
16     Ms. Greene that eight of Defendants’ employees had filed complaints against her arising
17     out of her poor management style. Cmpl. at ¶39. On October 10, 2014, Plaintiff’s team
18     of approximately thirty-five people was removed from her supervision. She was told that
19     she would have a new position and would now be reporting to Ben Mehling, not Steve
20     Puckett. She was informed of these decisions by Ms. Greene and Mr. Puckett over the
21     telephone. Cmpl. at ¶45. Upon information and belief, Plaintiff was in Pennsylvania at
22     the time of the telephone call. Puckett Decl. at ¶12.
23           On October 20, 2014, Plaintiff sent a letter to Defendant QSI’s Board of Directors
24     requesting an independent investigation into Mr. Puckett’s and Ms. Greene’s alleged
25     actions, which she believed were in retaliation for her complaint of harassment about Mr.
26     Puckett in August 2014. Cmpl. at ¶44. In response, Defendants retained an outside
27     investigator, Matthias Wagener, to conduct an investigation. Plaintiff met with Mr.
28     Wagener on November 6, 2014 at Defendant QSI’s Irvine, California office. Cmpl. at
       Case No.: 8:16-CV-00009 JLS (DFMx)            6   MEMORANDUM OF POINTS & AUTHORITIES
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 1     ¶46. Plaintiff’s counsel, Ronald Greenblatt, was in attendance at the interview. Wolbert
 2     Dec. at ¶11. Plaintiff’s other attorney, Patricia Pierce, did not attend the interview but,
 3     upon information and belief, exchanged email communications and voicemails with Mr.
 4     Wagener regarding the investigation.           She also provided Mr. Wagener with
 5     documentation which, according to her, supported Plaintiff’s allegations. Mr. Greenblatt
 6     and Ms. Pierce are based in Philadelphia and, upon information and belief, neither are
 7     residents of California. Plaintiff’s second interview occurred over Skype on December 22
 8     while she was presumably in Pennsylvania.           Of the 27 total interviews that were
 9     conducted, only eight of them were in-person interviews held in California. On the other
10     hand, seven of the interviews were conducted in Pennsylvania by Mr. Wagener’s
11     Philadelphia based colleague and ten of them were conducted remotely over the internet
12     or telephone. See La Fiura Declaration, Exh. 4.5
13           On or about December 18, 2014, Plaintiff learned that her work was being
14     evaluated. Cmpl. at ¶49. According to Plaintiff, this review was being conducted as part
15     of the “effort to manufacture a record of poor performance . . . in order to justify her
16     termination.” Cmpl. at ¶50. On January 30, 2015, Plaintiff was terminated over the
17     telephone by Mr. Mehling. Cmpl. at ¶54.
18           C.     Procedural History
19                  1.     Plaintiff’s Original Action
20           Plaintiff originally filed this matter in the Central District of California on April 8,
21     2015 alleging claims for sexual harassment, failure to investigate and retaliation under
22     the Fair Employment and Housing Act (“FEHA”) and termination in violation of
23     California public policy. See Docket No. 8:15-cv-00550, Entry #1. In doing so, however,
24     Plaintiff failed to demonstrate that this Court had subject matter jurisdiction by neglecting
25
26     5
         Attached as Exhibit 4 to the La Fiura Declaration is an excerpt from Mr. Wagener’s
       investigation report, which identifies all of the witnesses interviewed during the course of
27     his investigation. Unless indicated otherwise on the document, the interview was
       conducted in person. All interviews marked with the initials “M.W.” were conducted by
28     Mr. Wagener in California. All interviews marked with the initials “T.D.” were
       conducted by Mr. Wagener’s colleague, Theresa Dennis, in Pennsylvania.
       Case No.: 8:16-CV-00009 JLS (DFMx)            7    MEMORANDUM OF POINTS & AUTHORITIES
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 1     to allege the parties’ citizenship or the amount in controversy for purposes of diversity
 2     jurisdiction under 28 U.S.C. § 1332(a). Id. at #11. As a result, on April 20, 2015, this
 3     Court issued an Order for Plaintiff to show cause as to why the case should not be
 4     dismissed for lack of subject matter jurisdiction. Id.
 5           On May 4, 2015, Plaintiff filed an Amended Complaint with this Court which,
 6     other than attempting to correct the apparent jurisdictional errors, remained the same in
 7     all respects. Id. at #12. Defendants Answered the Amended Complaint on August 31,
 8     2015 and, shortly thereafter, filed a Motion to Transfer Venue of the case to the Eastern
 9     District of Pennsylvania on September 18, 2015. Id. at ## 20 & 24. While the Motion
10     was pending, this Court properly discovered that, despite its April 20 Order to Show
11     Cause, Plaintiff had still failed to properly assert a basis for subject matter jurisdiction.
12     This time, Plaintiff failed to assert the states of incorporation for both Defendants, which
13     is a prerequisite for asserting diversity jurisdiction under 28 US.C. § 1332(c)(1). As a
14     result, the Court dismissed Plaintiff’s claims, in their entirety, without prejudice. Id. at #
15     29.
16                  2.     Plaintiff’s Current Action
17           On or about December 3, 2015, Plaintiff filed the instant matter in the Superior
18     Court of California for the County of Orange. The Complaint is almost identical to the
19     first two complaints Plaintiff attempted to file in the Central District of California, with
20     the exception that it does not assert a basis for federal jurisdiction. On January 5, 2016,
21     Defendants removed the action to federal court pursuant to 28 U.S.C. ¶ 1332, and in
22     doing so were able to properly assert a basis for diversity jurisdiction. See Docket No.
23     8:16-cv-00009 at #1.
24           Prior to Defendants answering Plaintiff’s now federal complaint, Plaintiff filed her
25     First Amended Complaint adding claims for harassment, retaliation and failure to prevent
26     harassment under Title VII of the Civil Rights Act of 1964 (“Title VII”). Id. at # 14.
27     Defendants answered the Amended Complaint on February 4, 2016 and now (again)
28     move to transfer venue to the Eastern District of Pennsylvania. Id. at #15.
       Case No.: 8:16-CV-00009 JLS (DFMx)             8   MEMORANDUM OF POINTS & AUTHORITIES
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 1   II.   ARGUMENT
 2         A.     Legal Standard
 3         28 U.S.C. §1404(a) states that “for the convenience of the parties and witnesses in
 4   the interest of justice, a district court may transfer any civil action to any other district
 5   court where it might have been brought.” The analysis under 1404(a) requires two steps.
 6   First, the moving party must show that the transferee district is a district in which the
 7   matter “might have been brought.” Second, the Court must consider whether transferring
 8   the case would be convenient for the parties and witnesses in the interest of justice. See
 9   28 U.S.C. §1404(a) (2015); Saleh v. Titan Corporation et. al., 361 F.Supp. 2d 1152, 1155
10   (S.D.Ca 2005).
11                1.     This matter could have been brought in the Eastern District of
12                       Pennsylvania
13         The first step requires the moving party to show that the transferee district has
14   subject matter jurisdiction, personal jurisdiction and that venue would be proper. Metz v.
15   U.S. Life Ins. Co. et. al., 674 F.Supp. 2d 1141, 1145 (C.D. CA 2009). Here, these
16   requirements are easily met. First, the Eastern District of Pennsylvania could have
17   exercised subject matter jurisdiction based on the diversity of the parties pursuant to 28
18   U.S.C. 1332 and based on the federal question now raised in Plaintiff’s newly added Title
19   VII claim. See Cmpl. at ¶¶1-4. Second, the Eastern District of Pennsylvania can exercise
20   personal jurisdiction over the parties since Plaintiff is a Pennsylvania resident and since
21   both Defendants, although California corporations, have sufficient contacts with
22   Pennsylvania such that exercising personal jurisdiction over them would not “offend
23   traditional notions of fair play and substantial justice.” 42 Pa. Cons. Stat. Ann. § 5322(b);
24   Int’l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S. Ct. 154, 90 L. Ed. 95 (1945)
25   (internal quotation marks and citation omitted); Declaration of Jane Kurcon, attached as
26   Exhibit 5 to the La Fiura Dec., at ¶5 (stating that Defendants employ over 500 people in
27

28
     Case No.: 8:16-CV-00009 JLS (DFMx)            9   MEMORANDUM OF POINTS & AUTHORITIES
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 1   Pennsylvania and have countless customers in Pennsylvania).6
 2          Finally, venue is proper in the Eastern District of Pennsylvania because a
 3   “substantial part of the events or omissions giving rise to the claim occurred” in
 4   Pennsylvania. 28 U.S.C. § 1391(b)(2). Plaintiff currently lives in Pennsylvania. She
 5   also lived and worked in Pennsylvania while she was allegedly receiving harassing
 6   telephone calls, emails and text messages. Sacody Technologies v. Avant, Inc., 862
 7   F.Supp. 1152, 1157 (S.D.N.Y. 1994) (The standard set forth in § 1391(a)(2) may be
 8   satisfied if a communication was “transmitted to or from the district in which the cause
 9   of action was filed, given a sufficient relationship between the communication and the
10   cause of action.”). In addition, she was allegedly demoted and then terminated over the
11   telephone while she was presumably located in Pennsylvania.         Puckett Declaration at
12   ¶12.
13          As a result, the first step in the change of venue analysis has been met because this
14   matter “might have been brought” in the Eastern District of Pennsylvania.
15          B.    Transferring this matter to Pennsylvania will be convenient for the
16                parties, witnesses and will promote the interests of justice.
17          Courts evaluate the following factors in deciding the second step of the change of
18   venue analysis: (1) convenience of the parties; (2) convenience of the witnesses; (3) ease
19   of access to the evidence; (4) any local interest in the controversy; (5) the relative court
20   congestion and time of trial in each forum and (6) a plaintiff’s choice of forum. See
21   Williams v. Bowman, 157 F. Supp. 2d 1103, 1106 (N.D. Cal. 2001). In this case, all of
22   the above factors strongly favor transferring this matter to Eastern District of
23   Pennsylvania.
24                1.     Pennsylvania is more convenient for the parties
25          First, and perhaps most obviously, Plaintiff is a resident of Philadelphia,
26   Pennsylvania making the Eastern District of Pennsylvania clearly the most convenient
27
     6
       Ms. Kurcon’s declaration was also submitted in connection with Defendants’ original
28   motion to change venue and, for that reason, bears the docket number of Plaintiff’s
     previous action.
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 1   forum for her purposes. Second, all of the attorneys in this case (with the exception of
 2   local counsel) are from Philadelphia – mere minutes from the Eastern District of
 3   Pennsylvania. Thus, transferring this matter to the Eastern District of Pennsylvania will
 4   enable the parties to dispense with the cost of local counsel and cut travel time for the
 5   parties and their attorneys from six hours by airplane to six minutes by taxi cab.
 6                2.     Pennsylvania is more convenient for the witnesses
 7         “The convenience of witnesses is . . . the most important factor in passing on a
 8   transfer motion.” Los Angeles Mem. Coliseum Comm. v. Oakland Raiders, Ltd., 89
 9   F.R.D. 497, 501 (C.D. Cal. 1981). Here, Defendants intend to argue, among other things,
10   that Plaintiff was not sexually harassed by Mr. Puckett, that a thorough investigation of
11   her complaint was conducted and, finally, that her termination was for legitimate business
12   reasons unrelated to any complaint Plaintiff made to Defendants’ human resources
13   department or Board of Directors. Defendants believe that the following individuals will
14   be critical witnesses to their defense. Each individual’s state of residence is listed, along
15   with a general description of their anticipated testimony.
16                1.     Plaintiff, Pennsylvania. Plaintiff will provide testimony regarding her
17                       claims and damages.
18                2.     Mr. Puckett, Florida. Mr. Puckett will testify regarding Plaintiff’s
19                       allegations of harassment and Plaintiff’s work performance.
20                3.     Laura Anderson, Pennsylvania. Ms. Anderson will provide testimony
21                       regarding Plaintiff’s work performance.
22                4.     Russ Hill, Pennsylvania. Mr. Hill will provide testimony regarding
23                       Plaintiff’s work performance.
24                5.     Dawn Sowash, Pennsylvania. Ms. Sowash will provide testimony
25                       regarding Plaintiff’s work performance.
26                6.     Diane Spengel, Pennsylvania. Ms. Spengel will provide testimony
27                       regarding Defendants’ work environment and Plaintiff’s work
28                       performance.
     Case No.: 8:16-CV-00009 JLS (DFMx)            11 MEMORANDUM OF POINTS & AUTHORITIES
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 1                7.     Alicia Carden, North Carolina. Ms. Carden will provide testimony
 2                       regarding Plaintiff’s work performance.
 3                8.     Dr. Robert Murry, New Jersey. Dr. Murry will provide testimony
 4                       regarding Plaintiff’s work performance.
 5                9.     Ben Mehling, California.      Mr. Mehling will provide testimony
 6                       regarding Plaintiff’s work performance and her termination.
 7                10.    Donna Greene, California.      Ms. Greene will provide testimony
 8                       regarding Plaintiff’s complaints of harassment and the company’s
 9                       investigation.
10                11.    Ronald Greenblatt, Plaintiff’s counsel, New Jersey (upon information
11                       and belief). Mr. Greenblatt was present during Plaintiff’s interview(s)
12                       with Defendants’ third party investigator and can provide testimony
13                       regarding the thoroughness of the investigation.
14                12.    Patricia Pierce, Plaintiff’s counsel, Pennsylvania (upon information
15                       and belief). Ms. Pierce participated in the third-party investigation
16                       and can provide testimony regarding the thoroughness of the
17                       investigation.
18   Kurcon Declaration at ¶4. In other words, of the 12 critical witnesses identified above, 6
19   of them (including Plaintiff) reside in Pennsylvania. Of the remaining 6 witnesses, four
20   of them live in states considerably closer to Pennsylvania than California (New Jersey,
21   Florida and North Carolina). Furthermore, the only 2 witnesses who actually reside in
22   California will not be difficult to produce for depositions and/or trial. Specifically,
23   Donna Greene remains an employee of Defendants and is therefore within their control.
24   Ben Mehling, although a former employee, has been cooperative to date, and has already
25   submitted an affidavit regarding his knowledge of the case. See Affidavit of Benjamin
26   Mehling attached as Exhibit 6 to the La Fiura Dec. Moreover, the Eastern District of
27   Pennsylvania can compel Mr. Mehling to appear for a videotaped deposition under Rule
28   45(a)(2) despite his residence in California provided the deposition occurs within 100
     Case No.: 8:16-CV-00009 JLS (DFMx)           12 MEMORANDUM OF POINTS & AUTHORITIES
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 1   miles of his residence. See F.R.C.P. 45(a)(2). 7
 2         In sum, this factor – which Courts consistently note is the most important factor in
 3   the change of venue analysis – weighs almost entirely in favor of transferring this case to
 4   the Eastern District of Pennsylvania.
 5                3.     Evidence will be easier to access in the Eastern District
 6         In general, Rule 45 of the Federal Rules of Civil Procedure sets a strict 100-mile
 7   geographic limitation on subpoenas seeking the production of deponents or physical
 8   evidence. See Fed. R. Civ. Proc. 45(c)(1)(A) and 45(c)(2)(A). Here, virtually all of the
 9   relevant party and non-party witnesses and the physical evidence in their possession are
10   located within or closer to the Eastern District of Pennsylvania. In addition, Plaintiff
11   worked out of Horsham, Pennsylvania, which is where her personnel records are
12   physically located. Kurcon Declaration at ¶7. Moreover, Plaintiff is seeking emotional
13   distress damages, making her medical records highly relevant to her damages. Cmpl. at
14   ¶¶. 71, 81, 88. Presumably, Plaintiff’s medical providers are within 100 miles of her
15   Philadelphia residence and therefore within the subpoena power of the Eastern District of
16   Pennsylvania and well outside the subpoena power of this Court. Finally, Plaintiff’s Title
17   VII claim was filed with and investigated by the Philadelphia office of the Equal
18   Employment Opportunity Commission (“EEOC”), which is where all documents relating
19   to the investigation are located. Again, these documents will be much easier to access if
20   the matter is pending in Philadelphia.
21                4.     Plaintiff’s Choice of Forum should be given no weight.
22         Generally speaking, the plaintiff’s choice of forum is given substantial weight in
23   determining the appropriate venue. Williams v. Bowman, 157 F.Supp. 2d 1103 (N.D. CA
24   2001). The plaintiff’s choice is given less weight, however, where the plaintiff is not a
25   resident of the chosen forum or where the forum lacks any significant connection to the
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     7
       Defendants anticipate that Plaintiff will identify another California resident, Mr.
27   Wagener, as an additional witness.         Like Mr. Mehling, Mr. Wagener has been
     cooperative to date and Defendants anticipate no issue whatsoever in producing him for a
28   deposition in Pennsylvania or California. In addition, Mr. Wagener can likewise be
     compelled to testify pursuant to Rule 45(a)(2) as discussed above.
     Case No.: 8:16-CV-00009 JLS (DFMx)           13 MEMORANDUM OF POINTS & AUTHORITIES
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 1   acts giving rise to the litigation. Catch Curve, Inc. v. Venali, Inc., 2006 U.S. Dist. LEXIS
 2   96379 (C.D.Ca 2006); see also In re Apple, Inc., 602 F.3d 909, 913 (8th Cir. 2010)
 3   (foreign plaintiff’s choice of forum is “entitled to substantially less deference” because
 4   there is less reason to assume convenience and an increased risk of forum shopping). In
 5   addition, “[i]f there is any indication that plaintiff’s choice of forum is the result of forum
 6   shopping, plaintiff’s choice will be accorded little deference.” Williams, 157 F.Supp. at
 7   1106 (citations omitted).
 8         Here, Plaintiff’s decision to file her complaint approximately 3,000 miles away
 9   from her residence and place of employment represents obvious forum shopping.
10   Plaintiff is not a resident of California, she did not work in California and no events of
11   any significance occurred in California. Her choice of venue in the Central District of
12   California should be given virtually no weight.
13                5.     Other Factors
14         In addition, the local interest in this controversy is stronger in the Eastern District
15   of Pennsylvania since it is where Plaintiff lived, worked and was allegedly harmed. It is
16   also substantially closer to almost all of the witnesses and where both parties’ attorneys
17   work and reside. Other than the fact that Defendants are incorporated in California, the
18   Central District of California has no connection to this matter whatsoever.8
19         Second, there is greater docket congestion in the Central District of California than
20   the Eastern District of Pennsylvania. Based on the internal records of the United States
21   Judiciary, as of June 30 2015, the Central District of California had a total of 12,453
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     8
       Defendants anticipate that Plaintiff will argue that the documents she signed at the
23   inception of her employment, i.e., her offer letter and confidentiality agreement, contain
     California choice of law provisions. First, the offer letter simply sets forth Plaintiff’s
24   salary, start date, and benefit information. See Wolbert Dec. at Exh A. It does not contain
     any California choice of law provision. Second, the Confidentiality Agreement provides
25   that the “validity interpretation, construction, and performance of this Agreement shall be
     governed by the laws of the State of California.” See La Fiura Declaration, Exhibit 1
26   (emphasis added). While this language may suggest that disputes concerning the
     Confidentiality Agreement should be interpreted under California law, it does not support
27   an argument that all suits concerning her employment should be decided under California
     law, nor is there any suggestion in the document that California is the proper forum for
28   any disputes.
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 1   pending cases compared to just 8,592 pending cases in the Eastern District of
 2   Pennsylvania. See United States District Court – Judicial Caseload Profile (visited
 3   February 4, 2016).9 In addition, the judgeships in the Central District of California
 4   currently have more filings and pending matters than the judgeships in the Eastern
 5   District of Pennsylvania. Id. And, if that were not enough, the Central District reports
 6   655 weighted filings as compared to the Eastern District Court of Pennsylvania’s 393. Id.
 7         Finally, we note that this matter involves no unique issue of California law such
 8   that the Eastern District of Pennsylvania will be incapable of hearing the matter. While
 9   Plaintiff has brought a claim under FEHA and California common law, judges “‘in each
10   jurisdiction are fully capable of deciding issues arising under’” the laws of another state.
11   See Metz v. United State Life Ins. Co., 674 F. Supp. 2d 1141, 1148 (C.D. Cal. 2009)
12   (quoting Szegedy v. Keystone Food Prods., No. 08-5369, 2009 U.S. Dist. LEXIS 83444,
13   at *20 (C.D. Cal. Aug. 26, 2009)); see also SkyRiver Tech. Solutions, LLC v. OCLC
14   Online Computer Library Ctr., Inc., No. 10-03305, 2010 U.S. Dist. LEXIS 119984, at
15   *16 (N.D. Cal. Oct. 28, 2010) (stating that a non-California district court “is fully capable
16   of adjudicating claims that arise under California law”).     In addition, Plaintiff’s claim
17   arising under FEHA will be analyzed under the same standards as her claims under Title
18   VII, a federal statute with which courts in the Eastern District of Pennsylvania are
19   obviously familiar. Brooks v. City of San Mateo, 229 F.3d 917, 923 (9th Cir. 2000).
20   ///
21   ///
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       See: http://www.uscourts.gov/statistics-reports/caseload-statistics-data-tables (relevant
     excerpts and explanations of terms attached as Exhibit 7 to the La Fiura Dec.)
     Case No.: 8:16-CV-00009 JLS (DFMx)            15 MEMORANDUM OF POINTS & AUTHORITIES
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 3   III.      CONCLUSION
 4             For all these reasons, a transfer of this action is appropriate and will serve the
 5   convenience of the Parties and witnesses and promote the interests of justice.
 6   Defendants respectfully request that their motion be granted and that this matter be
 7   transferred to the Eastern District of Pennsylvania pursuant to 28 U.S.C. §1404(a).
 8

 9
     Dated: February 23, 2016                 JACKSON LEWIS P.C.
10
11
                                              By:   /s/
12                                                  Andrew D. La Fiura (PA 307891)
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16                                            Attorneys for Defendants
17                                            QUALITY SYSTEMS, INC. and NEXTGEN
                                              HEALTHCARE INFORMATION SYSTEMS,
18                                            LLC

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20   4849-8576-7470, v. 1

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     Case No.: 8:16-CV-00009 JLS (DFMx)             16 MEMORANDUM OF POINTS & AUTHORITIES
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 1                                   PROOF OF SERVICE
 2   UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
 3   CASE NAME: TRACI WOLBERT v. QUALITY SYSTEMS, INC.
 4   CASE NUMBER: SACV16-00009 JLS (DFMx)
 5         I am employed in the County of Orange, State of California. I am over the age of
     18 and not a party to the within action; my business address is: 5000 Birch Street, Suite
 6   5000, Newport Beach, California 92660.
 7         On February 24, 2016, I served the foregoing document(s) described as: NOTICE
 8
     OF MOTION; MEMORANDUM OF POINTS AND AUTHORITIES IN
     SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER VENUE;
 9   DECLARATION OF ANDREW LA FIURA IN SUPPORT OF MOTION TO
10
     TRANSFER VENUE; AND [PROPOSED] ORDER in this action by placing a true
     copy thereof in a sealed envelope addressed as follows:
11
     Sharon R. Vinick, Esq.                       Attorneys for Plaintiff TRACI WOLBERT
12   Levy, Vinick, Burrell, Hyams LLP
     180 Grand Avenue, Suite 1300                 Tel : (510) 318-7700
13   Oakland, CA 94612                            Fax : (510) 318-7701
                                                  sharon@levyvinick.com
14
     Patricia V. Pierce, Esq.                     Attorneys for Plaintiff TRACI WOLBERT
15   Greenblatt, Pierce, Engle, Funt & Flores
     123 South Broad St., Ste., 2500              Tel. : (215) 735-1600
16   Philadelphia, PA 19109                       Fax : (215) 735-1660
                                                  p.pierce@gpeff.com
17

18        BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
19   consented to electronic service and have been automatically served by the Notice of
     Electronic Filing, which is automatically generated by CM/ECF at the time said
20   document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).
21        FEDERAL I declare under penalty of perjury under the laws of the State of
22
     California and the United States that the foregoing is true and correct, and that I am
     employed in the office of a member of the bar of this Court at whose direction the service
23
     was made.

24
           Executed February 24, 2016, at Newport Beach, California.

25
26                                                Melanie Eyler

27

28



                                         PROOF OF SERVICE
